Case 4:15-cr-10012-JEM Document 71 Entered on FLSD Docket 03/24/2016 Page 1 of 1
                            UN ITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                            CA SE N O .15-10012-CR-M A RTlN EZ

 U N ITED STATES OF A M ERICA

         Plaintiff,
 V S.

 R AU L R IOSECO ,

         D efendant.
                                 /

        O R D ER A DO PTIN G M A G ISTM TE'S R EPO R T A N D R EC O M M EN DA TIO N

        TH IS CA U SE cam e before the Courtupon the Order ofReference from the D istrict

 Courtto conductaChange ofPlea beforea M agistrate Judge.

        THE M ATTER wasreferred to M agistrate Judge Lurana S.Snow,on Febnzary26,

 2016.A ReportandRecommendationwasfiledonM arch 9,2016,EECFNo.661,
 recom mendingthatthe Defendant'spleaofguilty be accepted.Thepartieswere afforded the

 opportunitytofileobjectionstotheReportandRecommendation,howevernonewerefiled.The
 Courthasreviewedtheentirefileandrecordandnotesthatnoobjectionshavebeenfiled.After
 carefulconsideration,the Courtaffinnsand adoptstheReportandRecom mendation.

 Accordingly,itishereby:

        ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.66jof
 United StatesM agistrate JudgeLurana S.Snow,ishereby AFFIRM ED and ADOPTED in its

 entirety.

        TheDefendantisadjudged guiltyto Count4oftheIndietmentwhichchargesthe
 Defendantswith mailfraud,in violation ofTitle 18,United StatesCode,Section 1341.

        DONE AND ORDERED inChambersatMiami,Florida,thisD jdayofMarch,2016.
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                                                      ,z'

                                               JO SE ' .M A R EZ
                                               > 1 D STA TES D IS           ICT JU D G E
 Copied:H on.M agistrate Snow
 A 1lCounselOfRecord
 U .S.Probation Office
